                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION


EIGHT MILE STYLE, LLC; MARTIN
AFFILIATED, LLC,
                                                    Civil Action No. 19-cv-00736
      Plaintiffs,

                                                    District Judge Aleta A. Trauger
vs.

                                                    RESPONSE TO ORAL ARGUMENT
SPOTIFY USA INC.; HARRY FOX AGENCY,
LLC,


      Defendants.


                                                    JURY DEMAND
SPOTIFY USA INC.,
      Third-Party Plaintiff,


vs.


KOBALT MUSIC PUBLISHING AMERICA,
INC.,


      Third-Party Defendant.




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       Spotify’s Slides: Slide 47 lists what Spotify identifies as three elements of a Monthly

Statement of Account, which Spotify would have the Court accept as Cumulative Statements of

Account: (i) “rate calculation sheets,” (ii)” signed certifications,” and (iii) “detailed information

concerning royalties paid” (“such as a CSV file”). Slide 48 depicts (i) the “rate calculation sheets.”

Smith Decl. ¶ 24, Ex. D. Slide 49 depicts (ii) the purported “signed certifications.” Id. But no slide

depicts element (iii), the detailed royalty data of the purported Monthly Statements of Account.

This is simply because element (iii), the individual monthly CSV files containing that data, are not

in the record. What is in the record in place of the requisite CSV files are two Excel spreadsheets

purportedly summarized in Slide 55:




       As the Court can see in the slide’s footnote, this data is from “Smith Decl. Exs. J & K.”

These were not the CSV files that were part of Monthly Statements of Account. (See Slide 48,

Smith Decl.¶24, Exh. D, containing the “rate calculation sheets,” not the individual monthly CSV

files with royalty data). Slide 55 excerpts two Excel spreadsheets (Exh. J & K) created after this

litigation commenced, produced in discovery and untimely in addition to its other deficiencies.



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       A careful review of Exhibits J & K — the Excel spreadsheets identified as HFA-00026443

and HFA-00026444 — as compared with Slide 55, would reveal that Slide 55 bear titles that are

not present in the actual Ex J & K spreadsheets—titles such as “Monthly,” “Cumulative,” “Data

for Previously Matched Track,” and “Data for Newly Matched Track.” These titles make it

appear that the two spreadsheets provide the requisite “clear identification of the total period

covered by the cumulative statement and the total royalty payable for the period.” 1 But they do

not. Rather, the copyright owner would need to parse through the 1,139,785 rows of data to

determine the period for each line item. See Smith Ex. J (HFA-00026443).

       Slide 55 also noticeably omits the row numbers to make it appear as though this spreadsheet

was organized by “previously matched” and “newly matched” works, however the Smith Decl.

Ex. J spreadsheet was not so-organized. Most important, hundreds of rows don’t even have a

Start Date, making it impossible to determine the total period covered. 2 From Smith Ex. J

(HFA-0002644):




1
  Required under 37 C.F.R. § 210.10(b)(2)(i).
2
  Spotify claimed at oral argument that Eight Mile Style admitted that the spreadsheets contain all
the requisite information, but this “admission” on Spotify’s Slide 50 merely admits that there are
“fields” for the information – not that the data in those fields is complete.

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       Spotify argues in slide 55 that these spreadsheets contain the requisite “clear identification

of the total period covered” (37 C.F.R. § 210.10(b)(2)), but the actual spreadsheets do no such

thing. Even if these were attached to the Monthly Statements of Account, which they weren’t,

Copyright owners would not be able “to quickly ascertain the sum of the contents of the cumulative

statement.” See, Fed. Reg., Vol. 83, No. 235 (Dec. 7, 2018) at 63063.

       Mr. Kohn’s testimony: Spotify quoted Mr. Kohn’s deposition (200:6-13) in which he

simply testified that an administrator may sometimes require approval (e.g., from a songwriter for

use in a TV commercial) before issuing a license. But on the previous page (199:2-8), answering

the same question whether one may still be an administrator even if one needed another’s consent

before you issue a license, Mr. Kohn was clear: A. Well, if he has the exclusive rights to issue.”

See also, Kohn Dec. at 26 (“[T]he essence of music publishing administration is the exclusive right

to grant licenses”). Kobalt’s expert is in accord: see, Miller Depo 151:19-22. It is undisputed that,

at least as early as 2013, Bridgeport, not Kobalt, had the exclusive rights to license the EMS

Compositions in the U.S. See Smith Depo 140:11-18 (“Q. When Kobalt advised HFA in 2013

that it was not the licensing administrator for Eight Mile Style, did HFA then communicate that

information to Spotify, yes or no? A. In the response files, yes”) (SUMF ¶ 70).

       When Cumulative Statements of Account Were Due: Spotify argues that the triggering

event for the calculation of the due date for cumulative statements of account must be upon the

matching of a “particular sound recording” to its underlying musical composition. See Spotify’s

presentation at slide 58. Spotify’s interpretation cannot be correct. The MMA provides clear

guidance as to when a Cumulative Statement of Account is due: “not later than 45 calendar days

after the end of the calendar month during which the copyright owner was identified and

located …” 17 U.S.C. § 115(d)(10)(B)(iv)(II)(aa). This could not be clearer: the triggering event




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is when the copyright owner was identified and located. Spotify, however, argues that the reference

to the MMA’s task to digital music providers (“DMP”) like Spotify to employ reasonable matching

efforts for “particular sound recording[s] of a musical work” in another sub-section (Section

115(d)(10)(B)(i)) should be read into sub-section (d)(10)(B)(iv). See Spotify’s Slide 58.

       This interpretation runs afoul of the canon of construction regarding subparts. This canon

holds that “material within an indented subpart relates only to that subpart.” Callahan v.

United States Dep't of Health & Hum. Servs. through Alex Azar II, 939 F.3d 1251, 1260 (11th Cir.

2019) (emphasis added). That is, here, everything contained in 17 U.S.C. § 115(d)(10)(B) applies

to romanettes (i) through (iv), but the language in each romanette, (i) through (iv) applies solely

to that particular romanette. Thus, the reference to the matching efforts for particular sound

recordings referenced in romanette (i) does not apply, and certainly does not supersede, the express

triggering deadline in romanette (iv) referencing only the date upon which the copyright owner is

“identified and located by or to the [DMP]”. HFA and Spotify knew Eight Mile Style was the

owner of the EMS Compositions as early as 2010 when it received that information from Kobalt,

SUMF ¶ 110, and Spotify routinely received metadata from Universal Music Group (“UMG”)

identifying Eight Mile Style as the owner / publisher (SUMF ¶ 126) and also knew from multiple

other sources. SUMF ¶ 66-69.

       HFA’s Separation of licensing/Payment: HFA posits that Eight Mile Style’s argument

that it did not have the ability to separate licensing authority and payment obligations is “mere

conjecture”. HFA rests solely on a self-serving affidavit from its own general counsel, Mr. Smith,

which was not in line with his deposition testimony. See SUMF at ¶¶ 18-19. Eight Mile Style

proffered the testimony and declaration of Joel Martin who knew of this shortcoming during the

time in 2007 until 2009 when MRI served as administrator. See Martin Decl. at ¶ 4. Further, Eight




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Mile Style has included in its SUMF the ample record evidence that rebuts Smith’s self-serving

declaration. See SUMF at ¶¶ 18-19. Further, this point is largely academic: Mr. Martin held that

impression until 2019 and HFA was told numerous times that Kobalt has no licensing authority

regardless of the status of the registrations. SUMF ¶¶ 66-69. There is also no requirement to

register anything with HFA anyway. SUFM ¶¶ 21, 156.

       UMG Passthrough Licenses. HFA and Spotify have made much of Mr. Martin’s position

that UMG did not have the authority to grant a passthrough license. Of course that was his position,

and he filed a lawsuit in that regard, but UMG took the opposing position and defended the suit.

UMG did, in fact, issue passthrough licenses to other digital exploiters like Apple, and the

confidential settlement, entered into fifteen months after Spotify’s launch, left any previously-

granted passthrough licenses intact. HFA Ex. QQQ.

       SoundCloud and Facebook. Spotify cannot rebut the language of the 2011 Agreements

vesting sole licensing authority for the EMS Compositions with Bridgeport, making Kobalt a

royalty collection agent only, or dispute it was advised that Kobalt did not have license rights for

EMS. Spotify thus resorts to apparent authority. There is literally no support for this in the

record. Not only did Spotify not rely on the MLA, as discussed at oral argument, but Spotify did

not rely on the Facebook or Soundcloud agreements either. Spotify’s entire argument is merely

circular and based applying its own contorted reading of the MLA to those agreements because

the term “Publisher Compositions” is the same in all three. Spotify is merely pointing at a duck,

calling it a horse, then arguing that these two other ducks must also be horses. 3



3
  Judge McCalla also saw through Spotify’s similar license/implied license/estoppel arguments:
“There is obviously another reason to send the money,…to try to avoid this situation [i.e., a lawsuit
for copyright infringement].” Bluewater/Spotify litigation, Hearing Transcript dated April 17, 2019
at 28:15-29:2 (M. D. Tenn)(attached to summary judgment briefing). He also rejected the same
summaries Spotify attempts to use here as proof of licenses as discussed at oral argument.


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Respectfully submitted on this16th day of July 2024 by:


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                                    CERTIFICATE OF SERVICE

       I hereby certify that a true and accurate copy of the PLAINTIFFS’ Response to Oral

Argument was filed electronically with the Clerk of the Court using the CM/ECF system. Notice

of this filing will be sent to all parties and counsel of record by operation of the Court’s CM/ECF

system, and via electronic and/or U.S. mail, postage prepaid on July 16, 2024, as below:

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